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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

ROTHSCHILD BROADCAST                                 )    C.A. No. 1:20-cv-00393-MN
DISTIRBUTION SYSTEMs LLC,                            )
                                                     )    JURY TRIAL DEMANDED
                       Plaintiff,                    )
         v.                                          )
                                                     )
FUBOTV, INC.,                                        )
                                                     )
                       Defendant.                    )


       DEFENDANT FUBOTV, INC.’S MOTION TO DISMISS PURSUANT TO RULE
                          12(b)(6) AND 35 U.S.C. § 101

        Defendant fuboTV, Inc., by and through its undersigned counsel, hereby respectfully

moves this Court to dismiss Plaintiff’s Complaint (D. I. 1) with prejudice pursuant to Rule 12(b)(6)

of the Federal Rules of Civil Procedure and 35 U.S.C. § 101. To the extent the Complaint is not

dismissed with prejudice pursuant to Rule 12(b)(6) and 35 U.S.C. § 101, Defendant respectfully,

and in the alternative, moves this Court to dismiss the case pursuant to Rule 12(b)(6) for failure to

state a claim for patent infringement. The grounds for this motion are set forth in fuboTV, Inc.’s

Opening Brief In Support Of Its Motion To Dismiss Pursuant to Rule 12(b)(6) and 35 U.S.C. §

101.

                                                              WILSON SONSINI GOODRICH &
                                                              ROSATI, P.C.

                                                              /s/ Ian R. Liston
                                                              Ian R. Liston (Del. Bar ID 5507)
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Dated: July 27, 2020
